

New Y-Capp, Inc. v Yellowstone Capital, LLC (2023 NY Slip Op 01423)





New Y-Capp, Inc. v Yellowstone Capital, LLC


2023 NY Slip Op 01423


Decided on March 17, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 17, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., PERADOTTO, CURRAN, BANNISTER, AND MONTOUR, JJ.


254 CA 22-00706

[*1]THE NEW Y-CAPP, INC., JONATHAN EUGENE COLEMAN AND DONNA ZEMORIA PIERCE-BAYLOR, PLAINTIFFS-APPELLANTS,
vYELLOWSTONE CAPITAL, LLC, DEFENDANT-RESPONDENT. (APPEAL NO. 2.) 






WHITE AND WILLIAMS LLP, PHILADELPHIA, PENNSYLVANIA (SHANE R. HESKIN OF COUNSEL), FOR PLAINTIFFS-APPELLANTS.
MURRAY LEGAL, PLLC, MINEOLA (CHRISTOPHER R. MURRAY OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Erie County (Timothy J. Walker, A.J.), entered December 23, 2021. The judgment dismissed the action. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on January 3, 2023,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: March 17, 2023
Ann Dillon Flynn
Clerk of the Court








